Case 2:05-CV-02139-BBD-tmp Document 8 Filed 06/20/05 Page 1 of 4 Page|D 16

HLLWLV_jyXY(og,
IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE UBJUHZU PM 2=53
wEsTERN DIvIsIoN

ij 'w NWHQWG
Ct£¢§uufl DBT CR
@ Wn. w m rv’.E;\/’;PHIS

REGINALD EGGERSON,
Plaintiff,
vs. Civ. No. 05-2139-D[P

FEDERAL EXPRESS,

Defendant.

\.¢\_¢\.¢v~_rv~_d\_dh_d\_/v'-.¢

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
June 16, 2005. Present were Reginald Eggerson, pro se, and Michael
Gabel, counsel for defendant. At the conference, the following
dates were established as the final dates for:

INITIAL DIscLosUREs PURSUANT To Fed.R.civ.P. 26(a)(1)=
July 13, 2005

JOINING PARTIES: AUguSt 13, 2005

AMENDING PLEADINGS: August 13, 2005

INITIAL MOTIONS TO DISMISS: September 13, 2005
COMPLETING ALL DISCOVERY: February 13, 2006

(a) DOCUMENT PRODUCTION: February 13, 2006

;%us docurnententered unthe docketsheetin conwpnance

.mh Rule 58 and/or 79(a) FHCF' on _Q_;M_ f

Case 2:05-CV-02139-BBD-tmp Document 8 Filed 06/20/05 Page 2 of 4 Page|D 17

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: February 13, 2006

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1} DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: December 13, 2005

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: January 13, 2006

(3) EXPERT WITNESS DEPOSITIONS: February 13, 2006
FILING DISPOSITIVE MOTIONS: MarCh 13, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection. to the default, response,
answer, or objection shall be waived.

This case is set for a non~jury trial. The pretrial order
date, pretrial conference date, and trial date will be set by the
presiding judge. It is anticipated that the trial will last
approximately five (5) days.

This case is appropriate for ADR. The parties are directed to
engage in court-annexed mediation private mediation after the close
of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

Case 2:05-CV-02139-BBD-tmp Document 8 Filed 06/20/05 Page 3 of 4 Page|D 18

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a 1notion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have consented to trial before the magistrate
judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

 

\/lV/\/ O(M-__-""
TU M. PHAM\

United States Magistrate Judge

 

 

UNITED STATES DISTRiCT OURT- WESTERNDISTR1CT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02139 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Michael E. Gabel

FEDERAL EXPRESS CORPORATION
3620 Hacks Cross Rd.

Bldg B, 2nd Floor

1\/1emphis7 TN 38125--880

Reginald Eggerson
3944 Elvis Presley
Apt. 2

1\/1emphis7 TN 38116

Honorable Bernice Donald
US DISTRICT COURT

